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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

VAlL-BALLOU PRESS, INC.,
ANSWER TO PETITION TO

VACATE AND
COUNTERCLAIMS FOR
JUDGMENT ENFORCING 'I`HE
ARBITRATION AWARD AND
FOR ATTORNEYS FEES

Petitioner,
vs.
GRAPHIC COMMUNICATIONS INTERNATIONAL

UNION/INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, LOCAL 898-1\/[,

Civil Action No. O6-CV-0643

Respondent.

 

Respondent, Graphic Communications lnternational Union/lnternational Brotherhood of
Teamsters, Local 898-M (“Union”), by its attorneys, Blitman & King LLP, answers the Petition as
follows:

l. ADMITS such part of paragraph “l” that alleges arbitrator Dennis J. Campagna
conducted an arbitration pursuant to the Collective Bargaining Agreement (“Agreement”) between Vail-
Ballou Press, Inc. (“Petitioner”) and the Union, but DENIES the remaining allegations and affirmatively
states that the Petition to Vacate Was removed to Federal Court pursuant to 28 U.S.C. §1446.

2. ADMITS such part of paragraph “2” that alleges a petition Was brought to vacate the
arbitrator’s determination, but DENIES each and every other allegation contained in paragraph “2”.

3. ADMITS such part of paragraph “3” that alleges that Petitioner is a corporation, duly
operating at a location in Kirkwood, Broome County, NeW York and that Respondent is a duly-
authorized labor organization that represents employees employed by Petitioner, but DENIES each and

every other allegation contained in paragraph “3” and affirmatively states that the facts pertinent to the

 

 

 

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dispute that is the subject of the arbitration are contained in the decision of Arbitrator Dennis J.
Campagna, whose factual findings are not reviewable by this Court.

4. ADMITS such part of paragraph “4” that alleges there were six (6) Apprentice Perfector
Pressmen including employees Hull, Stockholm, Van Kuren, Del Cano, Headley, and Risoli, but
DENIES each and every other allegation contained in paragraph “4” and affirmatively states that the
facts pertinent to the dispute that is the subject of the arbitration are contained in the decision of
Arbitrator Dennis J. Campagna, whose factual findings are not reviewable by this Court.

5. DENIES each and every allegation contained in paragraph “5” and affirmatively states
that the facts pertinent to the dispute that is the subject of the arbitration are contained in the decision of
Arbitrator Dennis J. Campagna, whose factual findings are not reviewable by this Court.

6. ADMITS each and every allegation contained in paragraph “6” and affirmatively states
that the facts pertinent to the dispute that is the subject of the arbitration are contained in the decision of
Arbitrator Dennis J. Campagna, whose factual findings are not reviewable by this Court, and
respectfully refers the Court to the Arbitrator’s decision in its entirety as the best evidence of its content
and meaning.

7. DENIES each and every allegation contained in paragraph “7” and affirmatively states
that the facts pertinent to the dispute that is the subject of the arbitration are contained in the decision of
Arbitrator Dennis J. Campagna, whose factual findings are not reviewable by this Court.

8. ADMITS that the Agreement includes the quoted language of Section 16.1, and
respectfully refers the Court to the Agreement in its entirety as the best evidence of its content and

meaning

 

 

 

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9. ADMITS that the Agreement includes the quoted language of Section 16.2, but DENIES
the remaining allegations contained in paragraph “9”, and respectfully refers the Court to the Agreement
in its entirety as the best evidence of its content and meaning

lO. ADMITS such part of paragraph “10” that alleges the Arbitrator ruled the grievance was
arbitrable, but DENIES each and every other allegation contained in paragraph “lO” and affirmatively
states that the facts pertinent to the dispute that is the subject ofthe arbitration are contained in the
decision of Arbitrator Dennis J. Campagna, whose factual findings are not reviewable by this Court, and
respectfully refers the Court to the Decision and to the Agreement, in their entirety, as the best evidence
of their content and meaning

ll. ADMITS such part of paragraph “l l” that alleges the Arbitrator made a determination
on the issue and DENIES each and every other allegation contained in paragraph “l l” and affirmatively
states that the facts pertinent to the dispute that is the subject of the arbitration are contained in the
decision of Arbitrator Dennis J. Campagna, whose factual findings are not reviewable by this Court.

12. DENIES each and every allegation contained in paragraph “12”.

13. DENIES each and every allegation contained in paragraph “13”.

14. DENIES each and every allegation contained in paragraph “14”.

15. DENIES each and every allegation contained in paragraph “l 5”.

16. DENIES each and every allegation contained in paragraph “16”.

l7. DENIES each and every allegation contained in paragraph “17.

18. DENIES each and every allegation contained in paragraph “18”.

l9. DENIES each and every allegation contained in paragraph “19”.

20. DENIES each and every allegation contained in paragraph “20”.

 

 

 

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21.

22.

23.

24.

25.

DENIES each and every allegation contained in paragraph “Zl”.
DENIES each and every allegation contained in paragraph “22”.
DENIES each and every allegation contained in paragraph “23”.
DENIES each and every allegation contained in paragraph “24”.

DENIES each and every allegation contained in the Petition not heretofore specifically

admitted, denied, or otherwise controverted

26.

27.

28.

29.

FIRST AFFIRMATIVE DEFENSE

The Petition fails to state a cause of action upon which relief can be granted.

SECOND AFFIRMATIVE DEFENSE
The proceeding was not properly commenced within the applicable statute of limitations

The proceeding is barred by the applicable statute of limitations.

FIRST COUNTERCLAIM

This counterclaim seeks judgment confirming the award of Arbitrator Dennis J.

Campagna dated February 14, 2006. A copy of the Arbitrator’s decision and award is attached to the

Petition as Exhibit “A”.

30.

This Court has subject matter jurisdiction over this counterclaim pursuant to Section 301

of the Labor-Management Relations Act, 29 U.S.C. §195.

31.

Effective April 19, 2003, the Union and the Petitioner entered into the Agreement, setting

forth the terms and conditions of employment of a unit of employees whose collective bargaining

representative is the Union. A copy of that Agreement is attached to the Petition as Exhibit “B”.

 

 

 

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32. The Agreement, at Article l6, provides a mandatory grievance and arbitration procedure
governing the resolution of disputes under the Agreement. The Agreement specifically provides that an
arbitration rendered pursuant to that procedure is “final and binding upon both parties.”

33. On or about February 2, 2005, the Union filed a grievance alleging the Petitioner’s
method of paying six (6) Apprentice Perfector Pressmen violated the Agreement.

34. Pursuant to the Agreement, an arbitration hearing was held before Arbitrator Dennis J .
Campagna on November 21, 2005 in Binghamton, New York. Both parties appeared at the hearing,
were represented by counsel, and had the opportunity to present witnesses and evidence in support of
their respective positions

35. The parties agreed to submit for resolution by the Arbitrator Vail-Ballou’s claim that the
grievance was not arbitrable.

36. The parties also agreed to submit the following issue for resolution by the Arbitrator:

If the matter is arbitrable, has the Company been properly paying
Perfection Pressman Apprentices who became such before their 4th
six months as Operators under the Collective Bargaining
Agreement? If not, what shall the remedy be?

37. By award dated February l4, 2006 (“Award”), the Arbitrator determined that the dispute
was arbitrable, and that the Petitioner violated the Agreement, the grievants were entitled to be paid
pursuant to the apprentice scale, and they were entitled to the pay differential that existed between what
each grievant-apprentice was actually paid and what they should have been paid.

38. The award of the Arbitrator is final and binding upon the Petitioner.

39. Upon information and belief, the Petitioner received the decision and award on February

24, 2006.

 

 

 

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40. The Petitioner has failed and refused and continues to fail and refuse to comply with the

Arbitrator’s decision and award.
SECOND COUNTERCLAIM

41. Respondent restates and realleges each and every allegation contained in paragraphs “29”
through “40” as if iiilly set forth herein.

42. The Petitioner’s refusal to comply with the award is unjustifiable and baseless

43. ln addition, the Petitioner’s action to vacate the Arbitrator’s award is frivolous and
without legal or factual basis.

44. As a result, the Union has incurred substantial attorneys fees in this action and will
continue to incur attorneys fees in the future.

WHEREFORE, the Union demands judgment against the Petitioner granting the following
relief: dismissing the Petition; enforcing the award of Arbitrator Dennis J. Campagna; ordering the
Petitioner to comply with the award; granting attorneys fees and costs to the Union; and granting such

other and further relief as the Court deems appropriate

BLI AN & KING LLP

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Dated: June 2, 2006 By:

 

jas\sam\TeamstersS9S\Vail-Ballou\Pleadings\Answer

 

